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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA, CASE NO.22-20104-CR-MARTINEZ
v.
ANTONIO INTRIAGO, et al

Defendant.
/

DEFENDANT’S MOTION TO ADOPT CODEFENDANT, WALTER VEINTEMILLA’S
MOTION FOR RULE 15(a)(1) PRETRIAL DEPOSITION

COMES NOW, the Defendant, ANTONIO INTRIAGO, by and through undersigned counsel,
hereby files this Motion to Adopt Codefendant, Walter Veintemilla’s Motion for Rule 15(a)(1) Pretrial
Deposition and in support thereof states as follows:

|. Defendant, Intriago who is charged with the same conspiracy as Mr. Veintemilla joins in his

Motion at (D.E. 751).

th

Defendant Intriago had multiple contacts and conversations with the witness and lawyer (J.C.)

who Mr, Veintemilla seeks to depose in D.E. 751.

3. J.C. who, turns out to be a confidential informant for a U.S. intelligence agency, was upon
information and belief, the author of a letter known as a letter requesting “International
Assistance” that was circulated and purportedly signed by many prominent Haitian citizens
and politicians demanding the removal of President Moise and the assistance of the
International Community.

4. J.C. was also the person who reviewed the legality and validity of a Haitian Arrest Warrant

targeting the former president and signed by either a Haitian prosecutor and/or a Judge/Justice

of the Haitian Supreme Court, Wendell Coq. Judge Cog is presently a fugitive of the Haitian

Government. J.C. opined on the legality of the process.
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5. J.C., who is an Ecuadorian lawyer exiled in Bolivia also rendered a legal opinion as to the
legality and validity of the Haitian legal process as it pertained to the deceased president.

6. Mr. Intriago relied on J.C.’s opinion as an “International Lawyer” as to whether Mr. Intriago
was acting in good faith and consistent with the law.

7. Inaddition to Mr. Veintemilla’s detailed facts in D.E. 751, Mr. Intriago also met in person with
J.C. in Bolivia many months prior to The President’s murder in Haiti and came to rely on him
and his legal advice. The testimony of J.C. goes to the core of Mr. Intriago’s defense in this
case.

8. At the time of the events and until having received discovery in this case it was unknown to
Mr. Intriago that J.C. was, in fact, a C.1. fora U.S. intelligence agency'.

WHEREFORE, Defendant respectfully requests that this Court grant this motion and any

other relief this Court deems just and proper.

CERTIFICATE OF SERVICE

| HEREBY certify that on July 2, 2024, | electronically filed the foregoing document with the
Clerk of the Court using CM/ECF which sent e-mail notification of such filing to Andrea Goldbarg,

AUSA, andrea. goldbarg(@usdoj.goy and all CM/EFC participants in this case.

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By: ___/s/ Emmanuel Perez
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' The discovery received from The Government redacts the U.S. intelligence agency with which J.C. is affiliated but
it is clear that he is a C.1. fora U.S. Intelligence Agency.
